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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

ALEXANDRA SIMS                                                                          PLAINTIFF

v.                                    No. 4:13CV00371 JLH

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                                                    DEFENDANT

                                             ORDER

       Dr. Scott Harter has filed a motion to quash subpoena duces tecum issued by State Farm

Mutual Automobile Insurance Company seeking his attendance at a deposition on April 1, 2015.

Dr. Harter previously gave expert testimony for the defense in the case of Alexandra Sims v. William

B. Stillman, Doris E. Stillman and John Doe, Lonoke County Circuit Court No. CV-2010-552-3.

State Farm now seeks to use the testimony developed in that case for defending in the present action.

Sims supports the motion to quash and states that Dr. Harter was improperly retained as an expert

by the defense lawyer in Sims v. Stillman.

       Dr. Harter’s motion to quash the subpoena duces tecum is granted. Dr. Harter cannot be

compelled to give expert testimony through a subpoena, nor can the Court require him to agree to

be retained in this action to testify for the defense. Nevertheless, if Dr. Harter’s deposition

testimony is otherwise admissible, the defense may use it pursuant to Rule 32(a) of the Federal

Rules of Civil Procedure.

       Alexandra Sims’ response in support of Dr. Harter’s motion to quash essentially is a motion

in limine to prevent Dr. Harter from being allowed to testify as a defense expert, and the Court will

treat it as a motion in limine. State Farm must respond to the arguments stated by Sims in her

response (Document #45) within fourteen days from the date that the response was filed. If Sims

wishes to file a reply, she may do so within seven days after State Farm’s response is filed.
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       For the reasons stated, Dr. Scott Harter’s motion to quash is GRANTED. Document #37.

He will not be required to attend the deposition on April 1, 2015.

       IT IS SO ORDERED this 26th day of March, 2015.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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